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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LISA SIGNORE                                         :
                                                    :
            vs.                                      :
                                                    :
WELLS FARGO BANK, N.A.                                :          NO. 14-2834

                                             OR D E R


                  AND NOW, TO WIT: This 30th day of September, 2014, it having been reported

that the issues between the parties in the above action has been settled and upon Order of the Court

pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is

hereby ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement of

counsel without costs.




                                                  MICHAEL E. KUNZ, Clerk of Court


                                                  BY:      S/Eileen Adler
                                                              Eileen Adler
                                                              Deputy Clerk




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41(b).frm
